
In re Rolando Sussmann, applying for writs of certiorari, prohibition, mandamus and stay order. Orleans Parish. No. 264-177.
Writ and stay order granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Oliver Schulingkamp, Judge of the Criminal District, Court for the Parish of Orleans, to transmit to the Supreme Court of Louisiana, on or before the 7th day of May, 1979, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date and time to be fixed by this court, why the relief prayed for in the petition of the relator should not be granted.
It is further ordered that, in the meantime and until the further orders of this court all proceedings against the relator in said Criminal District Court shall be stayed and suspended.
